Case 1:13-cr-00473-RM Document 13 Filed 12/04/13 USDC Colorado Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Raymond P. Moore

Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     GARY SNISKY,

      Defendant.
______________________________________________________________________________

               ORDER SETTING TRIAL DATES AND DEADLINES
______________________________________________________________________________

       This matter has been scheduled for a three-week jury trial on the docket of Judge

Raymond P. Moore in the U.S. District Courthouse, Courtroom A601, 6th Floor, 901 19th Street,

Denver, Colorado to commence on January 27, 2014 at 9:00 a.m. It is

       ORDERED THAT all pretrial motions shall be filed by December 10, 2013 and

responses to these motions shall be filed by December 17, 2013. It is further

       ORDERED that a Trial Preparation Conference is set for January 14, 2014 at 4:00 p.m.

in Courtroom A601. Lead counsel who will try the case shall attend in person.

       The parties shall be prepared to address the following issues at the Trial Preparation

Conference:

       1)      jury selection;

       2)      sequestration of witnesses;

       3)      timing of presentation of witnesses and evidence;
Case 1:13-cr-00473-RM Document 13 Filed 12/04/13 USDC Colorado Page 2 of 2




     4)    anticipated evidentiary issues;

     5)    any stipulations as to fact or law; and

     6)    any other issue affecting the duration or course of the trial.

     DATED this 4th day of December, 2013.

                                          BY THE COURT:



                                          ________________________________________
                                          RAYMOND P. MOORE
                                          United States District Judge




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